     IN THE UNITED STATES DISTRICT COURT FOR THE DISTRICT OF COLORADO

CASE NO. 19-CR-00257-WJM


UNITED STATES OF AMERICA,

Plaintiff,

v.

ERIC KING,

Defendant



                            MOTION TO WITHDRAW AS COUNSEL

        Comes now Sandra C. Freeman, lead counsel for Eric King, defendant, to respectfully

request that this Court enter an order permitting counsel Sandra Freeman to withdraw from

representation in this matter. In support of this request, counsel states the following:

     1. As indicated in in a previous request for a Continuance, in November 2019 counsel

        Sandra Freeman was diagnosed with health conditions necessitating the assistance of co-

        counsel. See Docket No. 29, ¶10.

     2. In the past two weeks counsel Freeman’s condition has deteriorated significantly such

        that withdrawal is now necessary.

     3. Counsel has informed Mr. King of the impairment in counsel’s ability, and of counsel’s

        duties pursuant to the Colorado Rules of Professional Conduct.




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   4. Counsel has conferred with the government. The government takes no position on the

       motion to withdraw, which the government maintains is a matter between counsel and

       Mr. King.

   5. Counsel is aware of counsel’s ongoing duties and pursuant to Colo. RPC 1.16(d) counsel

       will take all necessary steps to protect Mr. King’s interests and ensure that counsel’s

       withdrawal is minimally prejudicial to Mr. King.

For the foregoing reasons and any others that may appear to this Court, counsel Sandra Freeman

requests that the Court grant this request to withdraw as counsel for Eric King.



Respectfully Submitted,



s/ Sandra C. Freeman_______
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                                   CERTIFICATE OF SERVICE

       I hereby certify that on June 19, 2020, I electronically filed the foregoing with the Clerk
of Court using the CM/ECF system, which will send notice of this filing to following address:

Aaron Teitelbaum, Esq.
Assistant United States Attorney
1801 California Street, Suite 1600
Denver, Colorado 80202
Phone: 303-454-0100
Email: aaron.teitelbaum@usdoj.gov


I further certify that I have mailed or served this filing with the non-CM/ECF Participant with
this document via hand delivery:

Eric King, #27090-045
FCI Englewood
Federal Correctional Institution
9595 West Quincy Ave
Littleton, Colorado 80123



s/ Sandra C. Freeman_______
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